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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

_____________________________________
                                     )
IN RE NEURONTIN MARKETING AND )                                         MDL Docket No. 1629
SALES PRACTICES LITIGATION           )
_____________________________________)                                  Master File No. 04-10981
                                     )
THIS DOCUMENT RELATES TO:            )                                  Judge Patti B. Saris
ALL ACTIONS                          )
_____________________________________)


                [PLAINTIFFS’ PROPOSED] CASE MANAGEMENT ORDER # 2

           Pursuant to the Federal Rules of Civil Procedure, the Court finds that entry of this Order

is necessary for the just and efficient resolution of the above-captioned cases, MDL 1629, In Re

Neurontin Marketing and Sales Practices Litigation. This order shall also apply to related cases

later filed in, removed to, or transferred to this Court.

I.         SCHEDULE

           The litigation shall be conducted according to the schedule of events set forth herein1:

Date                                         Event

03-01-2005                                   Fact Discovery Commences

03-17-2005                                   Filing of Motions to Dismiss Complaints

03-31-2005                                   Service of Initial Disclosures Pursuant to FRCP 26(a)(1)

04-15-2005                                   Filing of Oppositions to Motions to Dismiss

05-02-2005                                   Filing of Replies to Oppositions to Motions to Dismiss

05-16-2005                                   Filing of Sur-replies (if any) to Defendants’ Replies on Motions to
                                             Dismiss

07-01-2005                                   Deadline for Filing of Motion for Class Certification


1
  The Court has already ordered the dates for the briefing of the motions to dismiss. The dates are included herein
for ease of reference.


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08-01-2005                              Filing of Opposition to Motion for Class Certification

08-16-2005                              Filing of Reply to Opposition to Motion for Class Certification

02-01-2006                              Fact Discovery Ends

03-01-2006                              Plaintiffs’ Disclosure of Expert Witnesses and Reports Pursuant
                                        to FRCP 26(a)(2)

03-15-2006                              Depositions of Expert Witnesses May Commence

03-31-2006                              Defendants’ Disclosure of Expert Witnesses and Reports
                                        Pursuant to FRCP 26(a)(2)

05-01-2006                              Plaintiffs’ Disclosure of Any Rebuttal Experts and Reports
                                        Pursuant to FRCP 26(a)(2)

06-01-2006                              Fact and Expert Discovery Ends

07-01-2006                              Filing of Motions for Summary Judgment

08-01-2006                              Filing of Oppositions to Motions for Summary Judgment

08-15-2006                              Filing of Replies to Oppositions to Motions for Summary Judgment

09-01-2006                              Filing of Joint Pre-trial Order

09-15-2006                              Pre-Trial Conference

10-01-2006                              Trial Begins


II.        FILING AND SERVICE OF DOCUMENTS

           Within ten (10) days of the date of this order, counsel for any party desiring to receive

service of documents filed with the Court shall register for participation in the Court’s Internet-

based Electronic Case Files (ECF) system.               Unless otherwise directed by the Court, all

documents required to be filed with the Court shall be filed and served exclusively through the

ECF system, in accordance with the Court’s Electronic Case Filing Administrative Procedures.

Except as the parties may otherwise agree among themselves, paper copies of documents filed

with the Court need not be served on any party. Discovery requests, responses thereto, and other

pleadings not required to be filed with the Court shall be served on Defendant’s counsel,



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Plaintiffs’ Liaison Counsel, and any other party entitled to service pursuant to Section III.C.2. of

the Court’s December 16, 2004 Corrected Case Management Order by overnight delivery, or

such other method(s) of service as the affected parties may agree among themselves.



III.       DISCOVERY AND DOCUMENTS

           A.     Preservation of Evidence

                  1.      Scope

           During the pendency of this litigation, and for 60 days after entry of a final order closing

all cases, each of the parties herein and their respective officers, agents, servants, employees and

attorneys, and all persons in active concert or participation with them who receive actual notice

of this order by personal service or otherwise, are restrained and enjoined from altering,

interlining, destroying, or permitting the destruction of any “document” in the actual or

constructive care, custody or control of such person, wherever such document is physically

located. This order applies to tangible things and documents containing information potentially

relevant to the subject matter of this litigation. Any tangible thing, document, or information

described or referred to in any discovery request or response made during this litigation shall,

from the time of the request or response be treated for purposes of this order as containing

potentially relevant information unless and until the court rules such information to be irrelevant.

           “Document” shall mean any writing, drawing, film, videotape, chart, photograph,

phonograph record, tape record, retrievable date (whether carded, taped, coded, electrostatically

or electromagnetically recorded, or otherwise), or other date compilation from which information

can be obtained, including but not limited to, notices, memoranda, diaries, minutes, purchase

records, purchase invoices, market data, correspondence, emails, computer storage tapes,




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computer storage cards or discs, books, journals, ledgers, statements, reports, invoices, bills,

vouchers, worksheets, jottings, notes, letters, abstracts, audits, charts, checks, diagrams, drafts,

recordings, instructions, lists, logs, orders, recitals, transcripts, telegram messages, telephone

bills and logs, resumes, summaries, compilations, computations, and other formal and informal

writings or tangible preservations of information.

                  2.      Preservation

           Each party and their respective officers, agents, servants, employees, attorneys and others

in active concert or participation with the parties shall preserve all devices, tangible things,

documents, and other records. Preservation includes the obligation not to alter any such thing as

to its form, content, manner of filing, or location, except to facilitate compilation, review, or

production pursuant to court ordered discovery.

           Before any potentially relevant devices, tangible things, documents, and other records are

destroyed, altered, or erased, counsel shall confer to resolve questions as to whether the

information should be preserved. If counsel are unable to agree, any party may apply to the

court for clarification or relief from this order upon reasonable notice. A party, which, within 10

days after receiving written notice from another party that specified tangible things or documents

will be destroyed, lost, or otherwise altered pursuant to routine policies and programs, fails to

indicate in writing its objection shall be deemed to have agreed to such destruction.

           B.     Documents

                  1.      Indexing

           Each producing party shall prepare an inventory covering all of the documents produced.

The inventory shall reasonably describe, given the time constraints and the volume of documents

to be inventoried, the contents of each banker’s box or similar unit of documents. If the




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producing party already has an index or inventory to some or all of the documents produced (an

“existing index”), the inventory may consist (in whole or in part) of this existing index so long as

it meets the criteria described in this paragraph. The inventory shall include any identifying

number already on such box or similar unit.             Each inventory shall also list the persons

responsible for the preparation of the inventory.

           The inventories are intended to permit the parties to make a general determination of the

existence or location of particular categories of documents. Each inventory shall contain a

statement, under penalty of perjury, that the party has made a good faith effort to assure that the

inventory matches the documents delivered by that party.

                  2.     Legibility of Documents

           Each producing party shall take reasonable steps to assure that the copies of the

documents it produces are legible. To the extent a producing party cannot or does not produce a

legible copy, it shall make the original document(s) available for inspection and copying.

                  3.     Authentication

           Documents produced whether as part of the initial disclosures, in response to formal

document requests, or by agreement, shall by reason of such production be deemed to be

authentic documents under Federal Rule of Civil Procedure 901 and to qualify as records of

regularly conducted business activities under Federal Rule of Civil Procedure 803(5) unless at

the time of production, or within fifteen days thereafter, the producing party specifies that a

document is or may not be authentic or is or may not be a record of regularly conducted business

activity.     All such specifications shall identify the document with particularity and briefly

indicate the basis or reason for the belief that the document is or may not be authentic or a

business record.




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                  4.      Electronic Format

           Any document available in an electronic format shall be so provided in that format, i.e. in

an identical, usable electronic format. If issues regarding compatibility of computer systems and

software arise, the producing parties shall confer to resolve the issues.

                  5.      Documents Produced In Qui Tam Action

           A party will not be required to produce in its initial disclosures or in response to any

document request any document produced in the civil action United States of America ex rel.

David Franklin v. Parke-Davis, et al., C.A. No. 96-11651-PBS (D. Mass.).

           C.     Limits On Discovery

           The Discovery Event Limitations set forth in Local Rule 26.1 shall not apply. The limit

on the number of interrogatories set forth in Federal Rule of Civil Procedure 33(a) shall not

apply. While interrogatories seeking the identity of potential fact witnesses may be served,

contention interrogatories shall not be served.

           The limit on the number of depositions set forth in Federal Rule of Civil Procedure

30(a)(2)(A) shall not apply. Unless otherwise authorized by the Court or stipulated by the

parties, depositions shall be limited to two (2) business days of seven (7) hours each, except for

depositions of entities taken pursuant to Rule 30(b)(6), which shall not be subject to any prior

limitation.

           D.     Supplementation of Responses

           The supplementation of responses required by Federal Rule of Civil Procedure 26(e) shall

be made by the parties ninety days from the date of the initial disclosures, and every ninety days

thereafter.

           E.     Assertion of Privilege




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                  1.     Attorney-Client Privilege

           A party who invokes the attorney-client privilege also must provide to the opposing party

the following information for each document or communication not disclosed, to the extent that

providing this information will not destroy the privilege:

                         (a)     The name and job title or capacity of the author(s) originator(s);

                         (b)     The name and job title or capacity of every person who received

                         the document or a copy of it, or who was present when the communication

                         was made or who overheard it;

                         (c)     The relationship between the author(s)/originator(s) and each

                         person who received the document or a copy of it, or who was present

                         when the communication was made or who overheard it;

                         (d)     whether the primary purpose of the document or communication

                         was to seek or provide legal advice or services;

                         (e)     The date of the document or communication;

                         (f)     The    subject   matter(s)   addressed     in   the    document      or

                         communication;

                         (g)     Whether the document or communication was transmitted in

                         confidence; and

                         (h)     A brief statement as to why, under the law, the document or

                         communication is protected by the attorney-client privilege.

                  2.     Attorney Work Product Doctrine and Other Privileges

                  A party who invokes the attorney work product doctrine or a privilege other than

the attorney-client privilege must provide to the opposing party the following information for




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each document or communication not disclosed, to the extent that providing this information will

not destroy the privilege:

                          (a)     Which doctrine or privilege the party is relying on;

                          (b)     Whether federal or state law of privilege applies to the documents

                          or communications in question, and, if state law applies, which state;

                          (c)     A list of every requirement or element that must be satisfied in

                          order to assert successfully the privilege or doctrine, with citation to legal

                          authorities supporting the list of elements presented; and

                          (d)     With respect to each document or communication for which the

                          doctrine or privilege is invoked, information that shows that each element

                          of the doctrine or privilege is satisfied.

                  3.      Timing

           The information specified in subsections 1 and 2 above shall be provided

contemporaneously with the service of the response to the discovery probe or the production of

documents.

                  4.     Exempted Documents

           Documents which were created or generated subsequent to April 13, 2004 and which are

privileged as communications or work product relating directly to this litigation need not be

identified under this section.

                  5.      Prior Production

           If any court presiding over related litigation pending in another jurisdiction has ordered

the production of any document initially withheld as privileged and/or protected by the attorney




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work product doctrine, the document shall not be withheld on the same ground(s) in these

proceedings.

           F.     Failure to Disclose

           A party’s failure to either produce or identify as withheld pursuant to privilege a relevant

document will be viewed by the court as a serious infraction of its orders, justifying appropriate

sanctions unless exceptional circumstances justify its failure. Upon learning that there are any

additional relevant documents which have not been produced or identified, a party is under an

obligation to promptly make known the existence of the documents, including the reason for its

failure, and submit the documents to the opposing party, or if withheld under a claim of privilege

or protection, identify the documents.



Dated: February 18, 2005                                 Respectfully Submitted,

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                                               Members of the Plaintiffs’ Non-Class
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SO ORDERED:

                                        ____________________________________
                                        Hon. Patti B. Saris
                                        United States District Judge

Dated: ________________________




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